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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

TRAVIS WAYNE LAWRENCE, JR.,                      )
                                                 )
                      Plaintiff,                 )
vs.                                              )           NO. CIV-16-0733-HE
                                                 )
HARLEY DAVIDSON MOTOR                            )
COMPANY, ET AL.,                                 )
                                                 )
                      Defendants.                )

                                            ORDER

       In this case, plaintiff asserts various state law claims against Harley Davidson Motor

Company and other related entities. Certain of the defendants have moved to dismiss on

the basis of not having been properly served. However, the bigger problem is that subject

matter jurisdiction does not exist in this case. According to the complaint, this court’s

jurisdiction is based on diversity of citizenship and 28 U.S.C. §1332. The complaint further

alleges that plaintiff is a resident of Oklahoma, which at least suggests he is an Oklahoma

citizen.1 It also alleges that defendant Fort Thunder Harley-Davidson is an Oklahoma

corporation with its principal place of business in Oklahoma. For diversity jurisdiction to

exist, all plaintiffs must be diverse from all defendants. Ravenswood Inv. Co., L.P. v.

Avalon Corr. Servs., 651 F.3d 1219, 1223 (10th Cir. 2011).2 As the complaint reflects on its

face that diversity is lacking, this case is DISMISSED for lack of subject matter jurisdiction.



1
  “Allegations of mere ‘residence’ may not be equated with ‘citizenship’ for the purposes of
establishing diversity.” Whitelock v. Leatherman, 460 F.2d 507, 514 (10th Cir. 1972).
2
 The complete diversity requirement does not apply to suits brought under the Class Action
Fairness Act, 28 U.S.C. § 1332(d). Although plaintiff is suing on behalf of a putative class, the
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       IT IS SO ORDERED.

       Dated this 21st day of February, 2017.




complaint does not suggest either the required amount in controversy or the number of class
members needed to invoke jurisdiction under the Class Action Fairness Act, § 1332(d).
                                            2
